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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION – DETROIT

             IN THE MATTER OF:
              JOSEPH G. DUMOUCHELLE, and                                       Bankruptcy Case No. 19-54531
              MELINDA J. ADDUCCI,                                                      Hon. Lisa S. Gretchko
                                                                                                   Chapter 7
                                                    Debtors.

               THOMAS T. RITTER,                                                  Adv. Pro. No. 20-04381-pjs
                                                    Plaintiff,                         Hon. Lisa S. Gretchko
               v.
               JOSEPH G. DUMOUCHELLE, and
               MELINDA J. ADDUCCI,
                                 Defendants.


              DEFENDANTS’ RESPONSE TO PLAINTIFF’S DISCOVERY REQUESTS

                      NOW COME the Defendants, JOSEPH G. DUMOUCHELLE (“Joe”) and

             MELINDA J. ADDUCCI (“Melinda”) (collectively “Defendants”), by and through

             their counsel, JOHN R. FOLEY, P.C., who, in response to the Discovery Requests

             propounded by the Plaintiff, THOMAS T. RITTER, hereby state as follows:

                                                PRIVILEDGE / OBJECTIONS

                      Joe and Melinda are both the subject of actual or potential criminal

             proceedings. Joe has actually been prosecuted, but that litigation continues, and

             therefore, he asserts his Fifth Amendment Privilege in response to all requests made

             by Plaintiff herein. Further, with respect to any request that may call for documents

             or communication between he and Melinda (his wife), Joe asserts Marital/Spousal

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             Privilege, and with respect to any request that may call for documents or

             communications between he and his attorney, Joe asserts Attorney-Client Privilege.

                      Melinda has sought assurances, through her counsel, repeatedly, that she is

             not being pursued for prosecution. Melinda asserts her Fifth Amendment Privilege,

             and does not waive the same by answering these requests. Further, with respect to

             any request that may call for documents or communication between her and Joe (her

             husband), Melinda asserts Marital/Spousal Privilege, and with respect to any

             requests that may call for documents or communications between she and her

             attorney, Melinda asserts Attorney-Client Privilege. However, in an effort to be

             responsive, to move this case along, and to show that she did not participate in any

             fraudulent conduct as alleged, Melinda has provided responsive answers and

             documents. These responses are provided without wavier of her Fifth Amendment

             Privilege, her Attorney-Client Privilege, or her Marital/Spousal Privilege. and

             specific preservation of the same.

                                                       INTERROGATORIES

                  1. Provide the names of all current and prior members and officers (including

                      their titles) of DuMouchelle Jewellers, the date of admission of each member

                      and the term of each officership.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Joe was always a 90% member and I was a 10%


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                                  member. Joe served as President. Melinda served as VP. I do not recall

                                  what date this was established on.

                  2. Provide a description of each expenditure, transfer and/or withdrawal made

                      (including the name and address of the recipient, the amount paid to such

                      recipient and the assets received or the liability paid in exchange therefor),

                      utilizing the proceeds received from Plaintiff with respect to the $350,000

                      Note and the alleged $80,000 profit realized on such proceeds.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I have no knowledge of these things. All funds

                                  would have gone in and out the bank account, and those statements,

                                  which can be obtained from the business case trustee, provide this

                                  information.

                  3. Provide a description of each expenditure, transfer and/or withdrawal made

                      (including the name and address of the recipient, the amount paid to such

                      recipient and the assets received or the liability paid in exchange therefor),

                      utilizing the $12 Million.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: All funds would have gone in and out the bank

                                  account, and those statements, which can be obtained from the business

                                  case trustee, provide this information. Further, I have attached hereto


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                                  the copies of the counter-checks that were issued to certain

                                  clients/customers/vendors following the referenced deposit.

                  4. For each of the expenditures, transfers and/or withdrawals identified in your

                      response to Interrogatory Nos. 2 and 3, identity which of Defendants initiated,

                      caused, signed for or otherwise participated in each and which Defendants had

                      contemporaneous and/or after the fact knowledge of each.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I did negotiate or have knowledge of the reasons

                                  or details of any of the transfers made. Joe negotiated/calculated/

                                  effectuated any transfers. My only involvement was one day, while I

                                  was already in Tuscon, Arizona, for the AGA Gem Conference

                                  (Attachments 8 & 9) and Joe had missed the closing of the banks in

                                  Michigan, and the banks in Arizona were still open due to the time zone

                                  difference, Joe emailed the bank and setup the counter-checks/transfers

                                  (Attachments 1, 2, & 3) and called me and asked that I go to the bank

                                  and sign for them. (Attachments 4, 5, & 6). Joe simply asked me to go

                                  to the bank and sign if needed, as the only other signer on the account.

                                  Again, I had no knowledge of what these transfers were for, why they

                                  were being made, etc. And none of that money came to me.

                                     i. Per Exhibit 12 of your Complaint, the BOA bank statement


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                                        (Attachment             5)   there   are   three   “Customer   Withdraw

                                        Transactions” on 2/7/2019:




                                   ii. Also per Exhibit 13 of your Complaint, (Attachment 6) my

                                        signature are on these three withdraws.

                                  iii. The attached photos of the counter-checks (Attachment 4) show

                                        exactly where this money went:




                                  iv. As I said, I had no idea of the reasons why these transfers were

                                        being made. Rather, I did these at Joe’s request, and as I said,

                                        NONE of the money came to me.

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                  5. Provide the names and last known addresses of each employee of

                      DuMouchelle Jewellers from January 1, 2017 through present date, including

                      Lauren Tobin, Olivia Rosema, Morgan Lynch, and Kevin Lynch, the term of

                      their employment and a summary of their job responsibilities.

                                    i. Joe Response: Joe asserts his Fifth Amendment Privilege.

                                   ii. Melinda Response:

                                             1. Lauren Tobin, 1290 Roslyn Rd., Grosse Pointe Woods, MI

                                                    48236, Phone: 313-310-4516, who was employed at

                                                    Joseph Dumouchelle Fine & Estate Jewellers LLC, during

                                                    time periods relevant to the facts of the situation giving

                                                    rise to the Complaint, and can testify to the same.

                                             2. Olivia Rosema, Phone: 313-770-7225, who was employed

                                                    at Joseph Dumouchelle Fine & Estate Jewellers LLC,

                                                    during time periods relevant to the facts of the situation

                                                    giving rise to the Complaint, and can testify to the same.

                                             3. Morgan Lynch, 25545 Packard St., Roseville, MI 48066,

                                                    Phone: 313-404-1316, who was employed at Joseph

                                                    Dumouchelle Fine & Estate Jewellers LLC, during time

                                                    periods relevant to the facts of the situation giving rise to

                                                    the Complaint, and can testify to the same.


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                                              4. With respect to Kevin Lynch: Kevin was, to the best of my

                                                     recollection, never an “employee” of DuMouchelle

                                                     Jewelers. Rather, on various, very limited occasions,

                                                     Kevin would help his uncle (Joe) by assisting with

                                                     auctions and moving boxes. I do not know if he was even

                                                     paid for this, and if he was, it likely less than the $600 1099

                                                     requirement.

                                              5. Additional Employees: I recall that DuMouchelle

                                                     Jewellers had several additional employees, years ago;

                                                     however, I do not have access to the records, and therefore,

                                                     cannot recall the names of these people.

                  6. Identify all documents to which you referred, or will rely upon at the time of

                      trial, in support of any denials contained in your answer to Plaintiff’s

                      Amended Complaint.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           a. Melinda Response: All such documents are in possession of the

                                  bankruptcy trustees of the two (2) bankruptcy cases (our personal case

                                  and the business case), or the FBI. My attorney will need to obtain these

                                  through discovery. I intend to use any documents attached to pleadings

                                  in this case, (which are all accessible via CM/ECF), and/or any


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                                  produced during initial disclosures, and/or any produced in response to

                                  these discovery requests (which I have attached), or later, if I locate any

                                  further responsive or relevant documents or obtain any such documents

                                  via discovery.

                  7. Identify all communications (name of person, whether by email, text or phone

                      and the substance of each communication) between either of Defendants and

                      any family members of Defendants (including children, in-laws, sisters,

                      brothers and parents) related to or touching upon the transactions by and

                      between either of Defendants and Plaintiff.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Melinda objections to this request as Overly broad,

                                  Vague, Ambiguous, and unduly burdensome as it is not limited in time

                                  scope. Subject to and without waiving her objections, Melinda states:

                                  None that I can recall or currently have in my possession. Except that I

                                  know I spoke to, and or texted/emailed with Joe, regarding having me

                                  sign for the transfers/counter-checks that in s Tucson. I have attached

                                  emails that are evidence of this.

                  8. Identify the exact location, description and value of all assets of Defendants

                      and of DuMouchelle Jewellers not within the custody of the trustees in

                      Defendants’ or DuMouchelle Jewellers bankruptcy cases, in existence as of


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                      the date of filing of Defendants’ and DuMouchelle Jewellers’ bankruptcy

                      proceedings, including all cash, certificates of deposit, jewelry, gems,

                      gemstones, real property, personal property, stocks, bonds, mutual funds,

                      cash, debit cards, crypto currencies, gift cards, and/or other cash equivalents

                      and safety deposit boxes and safes.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: All of my assets, and I believe all of those of Joe

                                  as well, and of the company (DuMouchelle Jewellers) were laid out in

                                  the bankruptcy case schedules and statements. Some were taken as non-

                                  exempt by the trustees of the 2 cases. All of the business assets were

                                  taken by the trustee in that case. I believe all real property was sold. I

                                  currently have minimal personal property that I own, including

                                  miscellaneous items of clothing, costume jewelry, and the standard

                                  household items like furnishing and kitchen wares, at the home where

                                  I live, which were either exempt in our personal bankruptcy case, or

                                  which we settled with the Trustee to allow us (now just me) to have, or

                                  which I have acquired since the bankruptcy filing, from my own

                                  earning.

                  9. State the complete name and address of the person who affixed the signature

                      of Sam Haggin to the document containing the alleged signature of Sam


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                      Haggin.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Objection: this interrogatory is overly broad,

                                  vague, and ambiguous, since the Plaintiff fails to attach the document

                                  in question. Subject to and without waiving her objection(s), Melinda

                                  states: I do not know what document you are referencing. I have no

                                  knowledge about this. However, if there is a document that has Sam

                                  Haggin’s signature, my first presumption would be that she signed it. If

                                  the implication of this question is that she did not sign it, I truly have

                                  no idea about this.

                                      RESPONSES TO REQUESTS TO PRODUCE

                  1. Produce the Operating Agreement and all amendments to the same of

                       DuMouchelle Jewellers.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: Any such documents would currently be in the

                                  possession of the Trustee of the bankruptcy case of that entity.

                  2. Produce all personal diaries of either of Defendants for the calendar years

                       2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.


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                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist.

                  3. Produce all physical calendars, daytimers or other writings evidencing the

                       activities of either of Defendants for the calendar years 2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.

                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist. Further, the office computers

                                  had a app called ACT that kept track of these things, but these

                                  computers were taken by the business case trustee.

                  4. Produce copies of all handwritten correspondence from either of Defendants

                       to any third party for the calendar years 2018-2022.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and Spousal

                                  Privilege.

                           b. Melinda Response: Melinda asserts Spousal Privilege but, without

                                  waiving said objection states: None exist.

                  5. Produce all documents referenced in the “briefcase” of documents Defendant

                       Joseph intended to share with his criminal counsel, but never reviewed,

                       alleged to have existed in the filings made by Joseph in his criminal

                       proceeding.


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                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and

                                  Attorney-Client Privilege.

                           b. Melinda Response: Melinda states: I do not know anything about this.

                  6. Produce the signature cards to the Bank of America Account.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege.

                           b. Melinda Response: I do not have any of these. They can be obtained

                                  from Bank of America.

                  7. Produce all documents you intend to rely upon at the time of trial.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege, and also

                                  relies on Melinda’s response.

                           b. Melinda Response: All such documents are in possession of the

                                  bankruptcy trustees of the two (2) bankruptcy cases (our personal case

                                  and the business case), or the FBI. My attorney will need to obtain these

                                  through discovery. I intend to use any documents attached to pleadings

                                  in this case, (which are all accessible via CM/ECF), and any produced

                                  during initial disclosures, and any produced in response to these

                                  discovery requests (Attachments 1 – 9 hereto), or later, if I locate any

                                  further responsive documents or documents relevant to my defense or

                                  obtain any such documents via discovery.

                  8. Produce all communications in Defendant’s possession between Plaintiff and


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                       either of Defendants.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege. Joe further

                                  objects to this request as Overly broad, Vague, Ambiguous, and unduly

                                  burdensome as it is not limited in scope of time.

                           b. Melinda Response: Melinda objects to this request as overly broad and

                                  unduly burdensome as it is not limited in scope of time. However,

                                  subject to and without waiving her objections, Melinda states: To the

                                  best of my current knowledge, I do not have any access to any emails

                                  between Plaintiff and me. However, I do not believe, using the time

                                  frame 2018-2022 (as limited in other requests), that I had any direct

                                  communication between me and Plaintiff, other than the email attached

                                  to your Complaint.

                  9. Produce all documents referenced or relied upon in preparing your responses

                       to the Interrogatories.

                           a. Joe Response: Joe asserts his Fifth Amendment Privilege and

                                  Attorney-Client Privilege and Marital/Spousal Privilege, to the extent

                                  that any communication between her and her attorney, or her and her

                                  husband, could be deemed to have been “relied on” in preparation of

                                  these responses.

                           b. Melinda Response: Melinda asserts Attorney-Client Privilege and


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                                  Marital/Spousal Privilege to the extent that any communication

                                  between her and her attorney, or her and her husband, could be deemed

                                  to have been “relied on” in preparation of these responses. Subject to

                                  and without waiving those privileges, Melinda states: All relevant

                                  business documents were taken by the Trustee of the Business Case.

                                  The minimal documents I do have, to the extent responsive hereto, or

                                  relevant to this case (and to the extent not yet obtained from other third

                                  parties), I have produced either in my initial disclosures, or attached to

                                  pleadings in this case, or I have attached them to these responses.




                                                           VERIFICATION

               By signing below, I swear and affirm that the foregoing responses to discovery
               are true and accurate to the best of my knowledge, information, and belief.

                                                                                

                        Melinda ADDUCCI                                                Date
                        as to her answers/responses only.




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                                                                    Respectfully submitted,
                                                                    JOHN R. FOLEY, P.C.
                                                                    Counsel for Defendants


                                                                    By: /s/Patrick A. Foley
                                                                    Patrick A. Foley (P74323)
                                                                    18572 W. Outer Drive
                                                                    Dearborn, MI 48128
                                                                    Phone: (313) 274-7377
                                                                    Email: pfoley@jrfpc.net
                      Dated: January 26, 2023




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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION – DETROIT

             IN THE MATTER OF:
              JOSEPH G. DUMOUCHELLE, and                                       Bankruptcy Case No. 19-54531
              MELINDA J. ADDUCCI,                                                    Hon. Phillip J. Shefferly
                                                                                                    Chapter 7
                                                    Debtors.

               THOMAS T. RITTER,                                                  Adv. Pro. No. 20-04381-pjs
                                                    Plaintiff,                      Hon. Phillip J. Shefferly
               v.
               JOSEPH G. DUMOUCHELLE, and
               MELINDA J. ADDUCCI,
                                 Defendants.


                                                       PROOF OF SERVICE

                    Patrick A. Foley hereby certifies that on January 26, 2023 he did serve a copy
             of the foregoing discovery responses, upon counsel for the Plaintiff, THOMAS R.
             RITTER by emailing a copy of the same, via the Court’s CM/ECF e-Filing System
             to:
                    Attorney Jay L. Welford - Email: jwelford@jaffelaw.com


                                                                     Respectfully submitted,
                                                                     JOHN R. FOLEY, P.C.
                                                                     Counsel for Defendants

                                                                     By: /s/Patrick A. Foley
                                                                     Patrick A. Foley (P74323)
                                                                     18572 W. Outer Drive
                                                                     Dearborn, MI 48128
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                                                                     Email: pfoley@jrfpc.net
                      Dated: January 26, 2023



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